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 1   DANIEL J. BRODERICK, #89424
     Acting Federal Defender
 2   ROBERT W. RAINWATER, Bar #67212
     Assistant Federal Defender
 3   2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
 4   Telephone: (559) 487-5561
 5   Attorney for Defendant
     TRENT DAVIS
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )    Case No. 1:03-CR-5054 OWW
                                                     )
12                        Plaintiff,                 )    STIPULATION TO CONTINUE
                                                     )    SENTENCING HEARING, AND ORDER
13         v.                                        )    THEREON
                                                     )
14   TRENT DAVIS,                                    )
                                                     )    Date:        May 22, 2006
15                        Defendant.                 )    Time:        9:00 a.m.
                                                     )    Judge:       Honorable Oliver W. Wanger
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17
18                                                 STIPULATION
19         IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel
20   that the sentencing hearing in the above- entitled matter now set for May 8, 2006, may be continued to
21   May 22, 2006, at 9:00 a.m.
22         The reason for this continuance is to allow counsel for defendant time for further preparation.
23         The parties agree that any delay resulting from this continuance shall be excluded in the interest of
24   justice pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(i) and § 3161(h)(8)(iv).
25   ///
26   ///
27   ///
28   ///
            Case 1:03-cr-05054-DAD-BAM Document 169 Filed 05/08/06 Page 2 of 2


 1                                                               McGREGOR W. SCOTT
                                                                 United States Attorney
 2
 3   DATED: May 4, 2006                                  By:     /s/ Mark E. Cullers
                                                                 MARK E. CULLERS
 4                                                               Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
 5
 6
                                                                 DANIEL J. BRODERICK
 7                                                               Acting Federal Defender

 8
     DATED: May 4 2006                                   By:     /s/ Robert W. Rainwater
 9                                                               ROBERT W. RAINWATER
                                                                 Assistant Federal Defender
10                                                               Attorney for Defendant
                                                                 Trent Davis
11
12
13
14                                                     ORDER

15
16         IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. § 3161. For the reasons stated above,

17   the court finds that the ends of justice served by the delay outweigh the best interest of the public and the

18   defendants in a speedy trial.

19   IT IS SO ORDERED.

20   Dated: May 7, 2006                                /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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     Stipulation to Sentencing Hearing                     2
